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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DONNELL MITCHELL : CIVIL ACTION
Plaintiff, : NO: 2:19-CV-03843
Vv. :

NATIONAL RAILROAD PASSENGER

CORP. a/k/a “AMTRAK” : ACCEPTANCE OF SERVICE
And :

JENNIFER HAKEN-LAFTY
c/o NATIONAL RAILROAD
PASSENGER CORPORATION, a/k/a
“AMTRAK”

And
MARIA FAULKNER
c/o NATIONAL RAILROAD
PASSENGER CORPORATION, a/k/a
“AMTRAK”

And
ANGELA SCHIAVELLO
clo NATIONAL RAILROAD
PASSENGER CORPORATION, a/k/a
“AMTRAK”

Defendants.

 

Please take notice that Matthew Strauskulage, Esquire, of Landman, Corsi, Ballaine &
Ford, P.C., attorney for Amtrak has been authorized to accept service on behalf of Amtrak,
Jennifer Haken-Lafty, Maria Faulkner and Angela Schiavello and does hereby acknowledge
service of the Summons and the Complaint in the above-captioned action for and on behalf of the

above-named parties with like effect as personal service upon said parties.
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DATED this Bday of September, 2019.

LANDMAN, CORSI,

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atthew Strauék

lage, Eo.
One Penn Center

1617 JFK Boulevard, Suite 955
Philadelphia, PA 19103
Attorney for Defendant

  
  

BY:

 
